       Case 1:21-cr-00178-APM          Document 116        Filed 08/19/22       Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              :
UNITED STATES OF AMERICA                      :      Case No.: 21-CR-178 (APM)
                                              :
       v.                                     :
                                              :
SHELLY STALLINGS                              :
                                              :
       Defendant.                             :
                                              :

         UNITED STATES’ SUBMISSION IN SUPPORT OF GUILTY PLEA

       On August 5, 2022, the defendant, SHELLY STALLINGS, notified the Court that she

intended to plead guilty to all counts against her in the Superseding Indictment, Dkt. 63. On

August 12, 2022, the Court requested that the government submit to the Court the statutory

maximum penalties, as well as the preliminary Guidelines calculations, for the offenses to which

the defendant will plead guilty. Accordingly, that information is set forth herein.

       Stallings is charged with a total of seven counts in the Superseding Indictment. These

counts, along with their elements, statutory maximum penalties, and preliminary Guidelines

calculations, are set forth below.

II.    Statutory Elements and Maximum Penalties

       A.      Count 2: Civil disorder, in violation of 18 U.S.C. § 231(a)(3)

       To plead guilty to this charge, the defendant must admit that she committed an act to

obstruct a law enforcement officer who was lawfully engaged in the lawful performance of his

official duties, incident to and during the commission of a civil disorder, which adversely affected

commerce or the movement of any article in commerce or the conduct or performance of any

federally protected function.

       The maximum penalties are:

                                            Page 1 of 6
         Case 1:21-cr-00178-APM         Document 116         Filed 08/19/22      Page 2 of 6




                1.      A term of imprisonment of not more than 5 years;
                2.      A term of supervised release of not more than 3 years;
                3.      A fine not to exceed $250,000; and
                4.      A special assessment of $100.

         B.     Count 6: Assaulting, resisting, or impeding certain officers with a deadly or
                dangerous weapon, in violation of 18 U.S.C. § 111(a)(1) and (b)(1)

         To plead guilty to this charge, the defendant must admit that she forcibly assaulted,

resisted, opposed, impeded, intimidated, or interfered with any person designated in 18 U.S.C.

§ 1114 while engaged in or on account of the performance of their official duties. Specifically,

the defendant admits that, using a deadly or dangerous weapon, to wit: pepper spray, she did

forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of

the United States Capitol Police or a person assisting the United States Capitol Police, that is, an

officer from the Metropolitan Police Department. The defendant further admits that she knew at

the time of the assault of, resisting, opposition to, impeding of, intimidation of, or interference

with the officer that the officer was engaged in the performance of their official duties.

         The maximum penalties are:

                1.      A term of imprisonment of not more than 20 years;
                2.      A term of supervised release of not more than 3 years;
                3.      A fine not to exceed $250,000; and
                4.      A special assessment of $100.

         C.     Count 9: Entering and remaining in a restricted grounds with a deadly or
                dangerous weapon, in violation of 18 U.S.C. § 1752(a)(1) and (b)(1)(A)

         To plead guilty to this charge, the defendant must admit that she knowingly used a deadly

or dangerous weapon, to wit: pepper spray, while remaining in a restricted area, and she further

admits that she knew the area was restricted and that she lacked the lawful authority to remain

there.

         The maximum penalties are:



                                             Page 2 of 6
       Case 1:21-cr-00178-APM          Document 116        Filed 08/19/22       Page 3 of 6




               1.      A term of imprisonment of not more than 10 years;
               2.      A term of supervised release of not more than 3 years;
               3.      A fine not to exceed $250,000; and
               4.      A special assessment of $100.

       D.      Count 10: Disorderly and disruptive conduct in a restricted grounds with a deadly
               or dangerous weapon, in violation of 18 U.S.C. § 1752(a)(2) and (b)(1)(A)

       To plead guilty to this charge, the defendant must admit that she used a deadly or dangerous

weapon, to wit: pepper spray, in relation to disorderly or disruptive conduct she admits she

knowingly engaged in in a restricted area, with the intent to impede or disrupt the orderly conduct

of government business.

       The maximum penalties are:

               1.      A term of imprisonment of not more than 10 years;
               2.      A term of supervised release of not more than 3 years;
               3.      A fine not to exceed $250,000; and
               4.      A special assessment of $100.

       E.      Count 11: Engaging in physical violence in a restricted grounds with a deadly or
               dangerous weapon, in violation of 18 U.S.C. § 1752(a)(4) and (b)(1)(A)

       To plead guilty to this charge, the defendant must admit that she used a deadly or dangerous

weapon, to wit: pepper spray, in relation to an act of physical violence against a person, which she

admits she knowingly engaged in in a restricted area.

       The maximum penalties are:

               1.      A term of imprisonment of not more than 10 years;
               2.      A term of supervised release of not more than 3 years;
               3.      A fine not to exceed $250,000; and
               4.      A special assessment of $100.

       F.      Count 12: Disorderly conduct in the Capitol grounds, in violation of 40 U.S.C.
               § 5104(e)(2)(D)




                                            Page 3 of 6
          Case 1:21-cr-00178-APM         Document 116        Filed 08/19/22      Page 4 of 6




          To plead guilty to this charge, the defendant must admit that she engaged in disorderly or

disruptive conduct in the grounds of the Capitol building, with the intent to impede, disrupt, or

disturb the orderly conduct of a session of Congress or either House of Congress.

          The maximum penalties are:

                 1.     A term of imprisonment of not more than 6 months;
                 2.     A fine not to exceed $5,000; and
                 3.     A special assessment of $10.

          G.     Count 13: Act of physical violence in the Capitol grounds, in violation of 40 U.S.C.
                 § 5104(e)(2)(F)

          To plead guilty to this charge, the defendant must admit that she willfully and knowingly

engaged in an act of physical violence in the grounds of the Capitol building.

          The maximum penalties are:

                 1.     A term of imprisonment of not more than 6 months;
                 2.     A fine not to exceed $5,000; and
                 3.     A special assessment of $10.

II.       Preliminary Guidelines Calculations

          The government estimates the following preliminary Guidelines calculations. First, the

following base offense levels, with adjustments, apply to each count of conviction.

Count 2: 18 U.S.C. § 231(a)(3)

      •   U.S.S.G. § 2A2.4(c)(1): cross-reference § 2A2.2
      •   U.S.S.G. § 2A2.2 = +14
      •   U.S.S.G. § 2A2.2(b)(2)(B): dangerous weapon used = +4
      •   U.S.S.G. § 3A1.2(a)-(c): official victim = +6
      •   Subtotal = 24
Count 6: 18 U.S.C. § 111(a)(1) and (b)(1)

      •   U.S.S.G. § 2A2.2 = +14
      •   U.S.S.G. § 2A2.2(b)(2)(B): dangerous weapon used = +4
      •   U.S.S.G. § 2A2.2(b)(7): convicted under 111(b) = +2
      •   U.S.S.G. § 3A1.2(a)-(c): official victim = +6
      •   Subtotal = 26

                                              Page 4 of 6
       Case 1:21-cr-00178-APM           Document 116         Filed 08/19/22       Page 5 of 6




Count 9: 18 U.S.C. § 1752(a)(1) and (b)(1)(A)

   •   U.S.S.G. § 2B2.3(c): intent to commit another felony, cross reference § 2X1.1, using Count
       6 (18 U.S.C. § 111(a)(1) and (b)(1)
   •   Base offense level and adjustments from Count 6, minus adjustment for official victim
   •   Subtotal = 20
Count 10: 18 U.S.C. § 1752(a)(2) and (b)(1)(A)

   •   U.S.S.G. § 2A2.4(c)(1): cross-reference § 2A2.2
   •   U.S.S.G. § 2A2.2 = +14
   •   U.S.S.G. § 2A2.2(b)(2)(B): dangerous weapon used = +4
   •   U.S.S.G. § 3A1.2(a)-(c): official victim = +6
   •   Subtotal = 24
Count 11: 18 U.S.C. § 1752(a)(4) and (b)(1)(A)

   •   U.S.S.G. § 2A2.4(c)(1): cross-reference § 2A2.2
   •   U.S.S.G. § 2A2.2 = +14
   •   U.S.S.G. § 2A2.2(b)(2)(B): dangerous weapon used = +4
   •   U.S.S.G. § 3A1.2(a)-(c): official victim = +6
   •   Subtotal = 24
The Guidelines do not apply to Counts 12 and 13. U.S.S.G. § 1B1.9.

       The Guidelines analysis does not stop at computing a base offense level, with any

adjustments, for each count of conviction. The next step, since there are multiple counts of

conviction, is to perform a grouping analysis under Chapter 3, Part D, of the Guidelines. See

U.S.S.G. § 1B1.1(a).

       Because all the counts of conviction involve the same victim and the same act or

transaction, all the counts group together into a single group. U.S.S.G. § 3D1.2(a). Then, the

applicable offense level for all counts is the highest offense level of the counts in the single group.

Id. § 3D1.3(a). In this case, the highest offense level for any count of conviction is 26. Therefore,

the preliminary Guidelines calculation results in a Level 26 before any reductions for acceptance

of responsibility.




                                              Page 5 of 6
Case 1:21-cr-00178-APM   Document 116      Filed 08/19/22      Page 6 of 6




                                     Respectfully submitted,

                                     MATTHEW M. GRAVES
                                     United States Attorney
                                     D.C. Bar No. 481052


                             By:     /s/ Stephen J. Rancourt
                                     STEPHEN J. RANCOURT
                                     Assistant United States Attorney, Detailee
                                     Texas Bar No 24079181
                                     601 D Street, NW
                                     Washington, DC 20530
                                     (806) 472-7398
                                     stephen.rancourt@usdoj.gov




                            Page 6 of 6
